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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          *
                                                  *
                     vs.                          *       Case No. 1:21-mj-00067-ZMF-1
                                                  *
KASH KELLY,                                       *
         Defendant                                *
                                                  *

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                                    JOINT STATUS REPORT


        Defendant, Kash Kelly, by his undersigned counsel hereby respectfully submits the following

Status Report. Discussions with the United States to attempt a non-trial resolution of the case are

ongoing. Counsel will file another Joint Status Report on April 23, 2021. AUSA Emory Cole joins

in this Report.

        1.        Mr. Kelly is charged by Criminal Complaint with two misdemeanor offenses arising

out of his alleged conduct at the United States Capitol on January 6, 2021. See Complaint, (ECF 1,

filed 1/15/21).

        2.        At his initial appearance on March 10, 2021, this Court scheduled a Preliminary

Hearing for March 11, 2021.

        3.        After discussions with AUSA Cole, Mr. Kelly moved to continue the Preliminary

Hearing to provide counsel the opportunity to attempt to reach a prompt non-trial resolution of the

case.

        4.        Discussions with the Government to resolve the case are ongoing.
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       5.      Mr. Kelly is presently serving a federal sentence in an unrelated case so that his

continued detention in this matter will not prejudice him as he will receive credit for the time he is

serving.

       WHEREFORE, Counsel propose to submit a Joint Status Report to the Court in another 30

days, on April 23, 2021 to allow for continued discussions with the Government in an attempt to

reach a non-trial resolution of the matter.

                                                      Respectfully submitted,

                                                      /s/ Carmen D. Hernandez
                                                      Carmen D. Hernandez
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the Consent Motion to Continue the Preliminary Hearing was
served this 25th day of March, 2021 on all counsel of record via ECF.



                                                      /s/ Carmen D. Hernandez
                                                      Carmen D. Hernandez




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